    DECLARATION OF REVEREND SANDRA PONTOH, DIRECTOR OF THE NEW
             HAMPSHIRE INDONESIAN COMMUNITY SUPPORT
       I, Sandra Pontoh, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I am the Director of the New Hampshire Indonesian Community Support

(NHICS). In this capacity, I engage in, coordinate, and direct NHICS’s community support for

the Indonesian community in New Hampshire. I am also a reverend and serve as the pastor of the

Maranatha Indonesian United Church of Christ in Madbury, New Hampshire.

       2.      NHICS is a nonprofit, membership-based community organization that integrates

Indonesians in New Hampshire. NHICS was established in 2010, and received its nonprofit

organization status in 2016. As a community organization, NHICS serves more than two

thousand Indonesians in New Hampshire. NHICS has its office in Dover, New Hampshire.

NHICS’s mission and activities

       3.      NHICS’s mission is to help foster a well-informed, well-connected, and stronger

immigrant community in New Hampshire and to build a community that contributes to society.

       4.      At the core of NHICS’s mission, NHICS and its members organize various

activities for the community, from promoting Indonesian culture and food to advocating for the

community. For instance, NHICS organizes cultural and food events with other organizations

and invites all Indonesians and others to the events. NHICS also works with and connects the

community to various government, social services, and other community-based organizations to

advocate for the community members, including immigrant members. Examples include but are

not limited to: working with local police to conduct public safety training; educating Indonesian

Americans on how to actively participate in elections; educating and assisting members in

paying their annual taxes; working with professors and local artists to develop activities for

children; assisting parents of students at public schools as well as in other places such as



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hospitals with interpretation/translation; providing interpretation and other administrative and

emotional support for postnatal care; connecting members to social service agencies and

providing interpretation for those meetings; holding community educational discussions on

workplace safety and health, taxes, health insurance, immigrant rights, and domestic violence

and abuse law; working with attorneys for immigration and non-immigration legal advice;

preparing members for the citizenship interviews; and assisting the census survey in the

community.

NHICS’s membership

       5.      NHICS is a membership-based organization. Currently, NHICS has about 2,000

Indonesian and Indonesian American members throughout New Hampshire. NHICS is organized

and run primarily by a team of volunteer community members and offers support services

completely free of charge. NHICS does not charge for any of its services and only accepts

donations.

       6.      NHICS’s members contribute to their local communities in a number of ways. For

example, one of its members works as a high school teacher, several members are police officers,

and one member is a physician.

       7.      NHICS’s members include citizens, lawful permanent residents, asylees, asylum

seekers, student visa holders, DACA recipients, and undocumented noncitizens.

President Trump’s executive order affects NHICS members

       8.      President Trump’s executive order entitled “Protecting the Meaning and Value of

American Citizenship” (“the Order”) will impact NHICS’s members. NHICS is aware of various

members who are expecting children who will be covered by the Order.




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           9.     For example, Gail 1 is a member of NHICS and a noncitizen Indonesian national.

She entered the United States on a tourist visa in 2023. Her husband, Thomas, is also a member

of NHICS and a noncitizen Indonesian national. Gail and Thomas applied for asylum in 2023,

and their application remains pending. Gail is pregnant, and her due date is in late February/early

March.

           10.    Under the Order, Gail and Thomas’s child risks being deemed not be a U.S.

citizen.

           11.    Gail and Thomas’s child may be subject to removal in light of the Order. Under

the Order, the child will be stripped of any legal protections, deemed to be a noncitizen, and not

have any other immigration status. That means that the baby could be arrested and detained, and

even deported as a noncitizen. While their parents have applied for asylum, it is not clear

whether this U.S.-born child legally could be added to those applications (an issue that ordinarily

never comes up because U.S.-born children are citizens). Gail and Thomas fear that their U.S.-

born child could be arrested and deported under the new administration’s immigration policies.

           12.    Gail and Thomas would like to seek a U.S. passport for their child to prove the

baby’s identity and citizenship to protect the baby from possible detention by local police

officers and immigration agents as an undocumented noncitizen. But under the Order the child

risks being deemed ineligible for a passport.

           13.    Gail and Thomas also fear their child could be left totally stateless. It is my

understanding that Indonesia has several requirements for its nationals to pass on citizenship to

children born abroad, including formal registration of birth at an Indonesian embassy. However,




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    To protect their identities, I am using fictitious names to describe them.


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Gail and Thomas would be afraid to report the birth because of their asylum claim. Nor can they

return to Indonesia because of their fear of persecution.

        14.    Because of the order, the child's access to nutrition and healthcare services, such

as SNAP and Medicaid, may also be threatened. I am aware of several NHICS members who

rely on these programs.

        15.    Gail and Thomas rely primarily on Thomas·s extremely limited income of

approximately $300 a week, which is insufficient to cover basic living expenses, let alone

additional medical or nutritional needs for their child.

        16.    Given these financial constraints, this family may be forced to either forgo

necessary medical care for their child, or to divert money that is essential for food and shelter to

cover their child's medical expenses. They may be compelled to do both.



I hereby declare under penalty of perjury that the foregoing is true and correct.




Rev. Sandra Pontoh

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